               Case 21-03647                      Doc           Filed 12/07/23       Entered 12/07/23 16:10:31           Desc Main
                                                                    Document         Page 1 of 7
 Fill in this information to identify the case:

  Debtor 1        Lisabeth E. Hawks

  Debtor 2

  United States Bankruptcy Court for the: Northern District of Illinois

  Case number :     21-03647



Form 4100R
Response to Notice of Final Cure Payment                                                                                                    10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee's notice of final cure payment.


Part 1:       Mortgage Information




 Name of creditor: MCLP ASSET COMPANY, INC.                                                         Court claim no.                             8
                                                                                                    (if known):
 Last 4 digits of any number you use to identify the debtor's account: 2806

 Property Address: 273 Nicole Drive
                   Unit E
                   South Elgin, IL 60177


Part : 2       Prepetition Default Payments

Check one:
[X] Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor's claim.

 [ ] Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default on
        the creditor's claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date of
        this response is:                                                                                                $



Part 3:        Postpetition Mortgage Payment

Check one:
 [ ] Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of the
         Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

          The next postpetition payment from the debtor(s) Is due on:

 [X] Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5) of
          the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

          Creditor asserts that the total amount remaining unpaid as of the date of this response is:

          a. Total postpetition ongoing payments due:
                                                                                                                             (a) $ 0.00
          b. Total fees, charges, expenses, escrow, and costs outstanding: Post Petition Fees Notice
                                                                                                                         +(b) $ 950.00
          c. Total. Add lines a and b.

          Creditor asserts that the debtor(s) are contractually                                                              (c) $ 950.00
          obligated for the postpetition payment(s) that first became
          due on:                                                                 01/01/2024




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Debtor 1 Lisabeth E. Hawks                                                         Case number (if known)           21-03647
                First Name             Middle Name           Last Name




Part 4:           Itemized Payment History

 If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
 debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
 the creditor must attach an itemized payment history disclosing the following amounts from the date of the
 bankruptcy filing through the date of this response:
         ·      all payments received;
         ·      all fees, costs, escrow, and expenses assessed to the mortgage; and
         ·      all amounts the creditor contends remain unpaid.


Part 5:           Sign Here

 The person completing this response must sign it. The response must be filed as a supplement to the creditor's proof
 of claim.

Check the appropriate box:

[ ] I am the creditor.
[X] I am the creditor's authorized agent.

I declare under penalty of perjury that the information provided in this response is true and correct to the best of my
knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different from the notice address
listed on the proof of claim to which this response applies.


     /s/Jason Seals                                                                       Date      12/07/2023
    Signature



Print:                       Jason Seals                                      Title Authorized Agent for Creditor

Company                      Padgett Law Group

If different from the notice address listed on the proof of claim to which this response applies:

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                 Email             plginquiries@padgettlawgroup.com




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                            IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION

IN RE: LISABETH E. HAWKS                                                     No: 21-03647
                                                                             CHAPTER 13
                  Debtor(s)
_________________________________________/




                                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to the parties

on the attached Service List by electronic service and/or by First Class U.S. Mail on this the _________
                                                                                                 7th     day of

December, 2023.



                                                           /S/ Jason Seals

                                                           ___________________________________
                                                           JASON SEALS
                                                           PADGETT LAW GROUP
                                                           6267 Old Water Oak Road, Suite 203
                                                           Tallahassee, FL 32312
                                                           (850) 422-2520 (telephone)
                                                           (850) 422-2567 (facsimile)
                                                           plginquiries@padgettlawgroup.com
                                                           Authorized Agent for Creditor




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                                  SERVICE LIST (CASE NO. 21-03647)

Debtor
Lisabeth E. Hawks
273 Nicole Dr., Unit E
South Elgin, IL 60177

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Chicago, IL 60602

Justin R. Storer
Law Office of William J. Factor, Ltd.
105 W. Madison St.
Suite 1500
Chicago, IL 60602

Trustee
Glenn B Stearns
801 Warrenville Road Suite 650
Lisle, IL 60532

US Trustee
Patrick S Layng
Office of the U.S. Trustee, Region 11
219 S Dearborn St
Room 873
Chicago, IL 60604




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